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                               IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF COLORADO

   Civil Action No. 21-cv-01073-CMA-NRN
   THE AARON H. FLECK REVOCABLE TRUST, through its Trustees, Aaron H. Fleck and
   Barbara G. Fleck,
   THE BARBARA G. FLECK REVOCABLE TRUST, through its Trustees, Aaron H. Fleck and
   Barbara G. Fleck,
   AARON FLECK, and BARBARA G. FLECK, on behalf of themselves and all others similarly
   situated,

   Plaintiffs,
   v.
   FIRST WESTERN TRUST BANK,
   CHARLES BANTIS, and
   ANDREW GODFREY,
   Defendants.



        PROPOSED ORDER MOTION TO EXTEND CUTOFF FOR EXPERT DISCOVERY


           THIS MATTER, having come before the Court upon Plaintiffs’ Motion to extend cutoff

   for expert discovery to August 2, 2023, for the exclusive purpose of the deposition of Plaintiffs’

   expert, Lari Masten, and the Court, having reviewed the Motion, the file in this matter, and being

   sufficiently advised in the premises, HEREBY GRANTS, the Motion.

           IT IS THEREFORE ORDERED that Plaintiffs have through and including August 2, 2023,

   to take the deposition of Lari Masten.

           DONE AND SIGNED this _____ day of July 2023.




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                                            BY THE COURT:

                                            _________________________________

                                            DISTRICT COURT JUDGE




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